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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-60074-CR-ZLOCH



  UNITED STATES OF AMERICA,

                 Plaintiff,

  vs.                                                            O R D E R

  HAROLD ROSE,

                 Defendant.
                                       /
         THIS     MATTER    is     before    the    Court   upon    the       Report    And
  Recommendation On Change Of Plea (DE 16) filed herein by United
  States Magistrate Judge Patrick M. Hunt.                  The Parties have filed
  their Joint Notice By Defendant Harold Rose And United States Of
  America       Accepting     Without       Objection     Magistrate’s        Report    And
  Recommendation To Accept Entry Of Guilty Plea (DE 18), and thus, no
  objections to said Report have been filed. The Court has conducted
  a de novo review of the entire record herein and is otherwise fully
  advised in the premises.
         In his Report And Recommendation (DE 16), Magistrate Judge
  Hunt, after conducting a hearing, recommends that the Court accept
  Defendant Rose’s plea of guilty to Count 1 of the Information (DE
  1) and that he be adjudged guilty of this offense.                      Additionally
  the    Court    notes     that    Defendant      Rose   has   signed    a    Waiver    Of
  Indictment (DE 6).               The Court adopts Magistrate Judge Hunt’s
  findings, as stated in the instant Report And Recommendation (DE
  16).
         Accordingly, after due consideration, it is
         ORDERED AND ADJUDGED as follows:
         1. The Report And Recommendation On Change Of Plea (DE 16)
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  filed herein by United States Magistrate Judge Patrick M. Hunt be
  and the same is hereby approved, adopted, and ratified by the
  Court;
       2. Being satisfied that there is a factual basis for guilt,
  the Court accepts Defendant Rose’s plea of guilty to Count 1 of the
  Information (DE 1) and adjudges him guilty at this time; and
       3.    Sentencing   will   be   SET    in   the above-styled   cause by
  separate order.
           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward
  County, Florida, this       13th          day of June, 2019.




                                      WILLIAM J. ZLOCH
                                      Sr. United States District Judge

  Copies furnished:

  The Honorable Patrick M. Hunt
  United States Magistrate Judge

  All Counsel of Record




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